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          EXHIBIT 1
REDACTED VERSION OF DOCUMENT
     SOUGHT TO BE SEALED




 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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   From:        Leo Olebe [/O=THEFACEBOOK/OU=EXTERNAL
                (FYDIBOHF25SPDLT)/CN=RECIPIENTS/CN=803AE2C6AA924A1BA9ECC93563E1A951]
   Sent:        7/11/2017 6:53:03 PM
   To:          Sean Ryan [sdr@fb.com]
   CC:          Ash ihayeri [ashj@fb.com]; Aruna Bharathi [aruna@fb.com]; Stephanie Shum [sshum@fb.com]
   Subject:     Sun Valley IG Ask
   Attachments: image001.png


   Sean —

   Here is the brief we put together for Dan's Apple mtg. @ Sun Valley.

   Leo

   >>>>>>>>>>>>>>>>>>>>>>>>>>>»..
   Apple / FB Messenger Instant Games
   Background
   In late 2016 Apple approved Facebook to move forward with putting "Instant Games" in Messenger and the FB
   Blue App. Phil Schiller pulled out an email from 2011 which memorialized an agreement we made allowing FB
   to stream HMTL5 games as long as we don't create an app store or do in-app payments. FB is allowed to stream
   HMTL5 games as long as we don't create an app store or do in-app payments. Specifically - a list of games in-
   thread is ok, but a categorized, or ranked list based on popularity or anything that vaguely looks AppStore-like
   is not.

   At WWDC this year, Apple formalized their stance on HTML5 web games into an official guideline. Most
   notably, the guideline states that HTML5 game experiences are only permitted when a)they are not offered in a
   store or store-like interface, and b)third party developers are registered as a part of the Apple Developer
   Program, and c) all purchases must utilize TAP.
   Challenge
   Recently Apple has been taking an aggressive stance on their interpretation of their new Instant Games
   guidelines, forcing revisions to previously approved features and blocking the launch of critical features that
   have nothing to do with creating a "store" experience.

   Timeline:
   •        6/5(WWDC): Apple institutes new guideline for Instant Games in their App Store Review Guidelines.
   •      6/7: Apple references new guideline and asks when Instant Games developers will be registered as
   Apple Developers
   •      6/28: Apple reaches out stating that the "Latest Releases" bar in Instant Games is a violation of their
   new guidelines preventing "store-like" discovery of HTML5 games.


   •        7/9: Apple rejected the "suggested friends" sub-section under each game, stating that we can only use a
   simple list and that the subsection was "app-store like." They seem to be sticking to a very aggressive
   interpretation ofthe new guideline, so anything touching the "Games" tab experience will likely be difficult to
   put in (incl. search/alpha sorting).




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   Ask
   Apple is rejecting any change that we try to implement - including features that focus on games that people are
   or should be playing with their friends. While we understand that we can't implement any "store-like" features,
   we'd like clarification and guidance on how we should proceed, with the desired outcome of being able to
   have flexibility with how we organize the list of games.


   APPENDIX FYI




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